2:22-cv-02252-SEM-EIL # 1-3   Page 1 of 28
                                                                   E-FILED
                                   Friday, 18 November, 2022 08:51:50 AM
                                              Clerk, U.S. District Court, ILCD




      Exhibit B
2:22-cv-02252-SEM-EIL # 1-3   Page 2 of 28




                   1
2:22-cv-02252-SEM-EIL # 1-3   Page 3 of 28




                    2
                         2:22-cv-02252-SEM-EIL # 1-3               Page 4 of 28




July 8, 2022

Katherine Snyder
Office of the Dean of Students
300 Turner Student Services Building
610 East John Street
Champaign, Illinois 61820

Re: Meeting Demand

Dear Ms. Snyder,

My name is Keith Singh, and I have now received two bizarre letters from you demanding a meeting. I
told you that I would not respond to any further correspondence, but it appears that the school is looking
for a legal dispute. So, I want to make my position crystal clear for the record and any future litigation.

First, you have received false and defamatory information about me (likely from the College of Law),
which resulted in your correspondence. Second, you have not provided me notice of the fraudulent claims
or allowed me to have legal counsel present. For example, you have not provided evidence of these
claims, and you have not shared the nature of the claims or who made them. I have the right to review my
student file under the Family Educational Rights and Privacy Act (FERPA). Third, you lack the authority
to demand a meeting based on false information under the Student Code. Fourth, I am a student at the
College of Law and not the University generally, so it is unclear why you are contacting me. The College
of Law has its own Dean of Students. And fifth, your demands are not reasonable for many reasons,
including the fact that the College of Law is not in session for the summer. I am not available at the
date/time you have listed, and I am not taking classes at the University this summer. I will not be meeting
with you until I receive the above information. If the University of Illinois attempts to discipline me, I
will take legal action against the school. I will address each point in turn.

First, your office has received false and defamatory claims about me that lack any factual basis. I can say
without knowing the details that I vigorously deny all the information or claims your office has received.
Therefore, unless you have evidence that the claims are real, you have no basis to demand a meeting. I
met with the College of Law multiple times in the last few months and expressed concerns about illegal
activity by College of Law officials and my grades. The College of Law is aware that I may pursue legal
action, so it is now retaliating against me by providing your office with fraudulent claims. I am not going
to entertain such falsehoods and fantasies. I referenced defamation in my first response for a reason. You
are now a witness.

Second, you have not provided any evidence of these claims or allowed me to have legal counsel present.
Although you claim that the meeting is not disciplinary, you are threatening me with discipline if I do not
comply with your unreasonable demands. Thus, I will not meet with you until I receive notice of the
allegations and who made them. You also need to tell me what we will discuss, and you need to allow me
to have legal counsel present. However, I will not look into getting legal counsel until you provide me
information about the nature of the meeting and allegations. It is unclear what the purpose of this meeting
is or what your role is in this process. You have not provided me with any information. Instead, you
vaguely referenced your job title and some “reports” your office received. You then proceeded to claim
(without evidence) that a meeting was mandatory. You did not reference any provision of the Student
Code that allows you to demand such a meeting. You need to provide me with the information above. At
that point, I will decide whether to bring in legal counsel. Otherwise, there will be no meeting. I have the
right to review my student file under FERPA.



                                                     13
                          2:22-cv-02252-SEM-EIL # 1-3                Page 5 of 28




Third, I am not aware of any provision of the Student Code that allows you to demand a meeting based on
fraudulent information. You need to cite the provision of the Student Code, or there will be no meeting.
Until you provide me with the provision of the Student Code, I consider your demands to be unreasonable
and nothing more than requests. Once you cite the provision (if one exists), I will review it and determine
whether to bring in legal counsel. Again, you are demanding a meeting based on false information. I deny
the allegations in whatever reports you received, and I decline to meet with you per your request. It would
be quite something for the University of Illinois to attempt to discipline me without first providing
evidence that it had the authority to demand a meeting.

Fourth, I am a student at the College of Law—not the University generally. I am not an undergraduate or
graduate student. It is unclear where you get the authority or jurisdiction to force me into a meeting. The
College of Law has its own administration and Dean of Students. Again, it is unclear what your role is
here or what you are attempting to do. In your first letter, you claimed that you wanted to meet to
“discuss” my concerns and whether you could “assist [me] in some way.” That sounds like an offer. But
in the same letter, you claimed that another member of the staff would join and that the meeting was “a
necessary and required step in the process[.]” What process are you talking about? You have also called
yourself a member of the “Behavioral Intervention Team.” It sounds like you are about to take some
unlawful action based on fraudulent information about my mental health. Consequently, I refuse to meet
until you provide me with a detailed summary of the claims and purpose of the meeting. The College of
Law has already violated my rights. If you continue to do so here, this will quickly proceed to litigation
and a legal dispute. So make up your mind as to how you want to proceed. I am entitled to due process of
law.

Fifth, not only are your demands unreasonable for all of the reasons mentioned above, but they are also
unreasonable because you are attempting to force me to have a meeting with you during the summer. I am
currently in a legal internship working significant hours during the vast majority of the week. I will not be
available for a meeting until classes resume in middle or late August when I am back in Champaign. I am
not currently in Champaign. In any case, no meeting can happen until I view the evidence/claims and
consider getting legal counsel. Your demands are not reasonable requests in your capacity as the
Associate Dean of Students—they are unreasonable and unlawful.

In summary, there will be no meeting unless you provide me notice in the form of evidence and allow me
to review the evidence. At that point, I will decide whether to obtain legal counsel. If it is the University’s
position that it has the authority to force me into a meeting based on fraudulent information, you need to
cite the relevant provision. At that point, I will once again decide whether to obtain legal counsel. It is my
position that the University lacks the authority to force me into a non-disciplinary hearing based on false
information. As such, I deny your request to meet.

If the University of Illinois attempts to discipline me, I will take legal action against the school and
relevant officials. I will provide the College of Law with a copy of this letter, as they are complicit in this
unlawful activity.

Sincerely,

Keith Singh




CC: College of Law


                                                       24
                         2:22-cv-02252-SEM-EIL # 1-3      Page 6 of 28


FERPA Request
Singh, Keith <keeruts2@illinois.edu>
Fri 7/8/2022 4:08 PM
To: Winship, Verity <vwinship@illinois.edu>
Cc: Vermillion, Virginia <deanv@illinois.edu>
Dear University of Illinois College of Law,

I am hereby making this request under the Family Educational Rights and Privacy Act
(FERPA). I want access to my entire student file, including records that may have been
placed there during any meetings I have had with University officials, including the Dean of
Students. I have reason to believe that University officials have fraudulently and unlawfully
placed false information in my student file and shared that information with outside entities
(unlawfully). I did not consent to any notetaking during any meetings I may have had with
College of Law officials.

Once I review the file, I will let the College of Law know whether I am seeking any changes
to my file. I have the right under FERPA to amend or seek changes to the file.

Keith Singh




                                                5
                         2:22-cv-02252-SEM-EIL # 1-3               Page 7 of 28




July 11, 2022

Verity Winship
Associate Dean for Academic Affairs
University of Illinois College of Law
504 East Pennsylvania Avenue
Champaign, IL 61820

Re: Discrimination Complaint

Dear Dean Winship,

My name is Keith Singh, and I will be entering my second year at the College of Law this fall. Pursuant
to College of Law policy and the University of Illinois Student Code, I hereby file this complaint against
Virginia Vermillion, the Dean of Students at the College of Law, Shannon Moritz, instructor, Lesley
Wexler, instructor, and the rest of the College of Law in its entirety. Vermillion, Moritz, Wexler, and the
College of Law have violated the Student Code and American Bar Association (ABA) standards for law
schools by discriminating against me unlawfully and in violation of my rights. I will highlight the
discrimination below.

From the beginning of my time at the University of Illinois, the College of Law has treated me differently
than other students and subjected me to various forms of discrimination. The school has spread my
personal information unlawfully to faculty, staff, and other students. The school has also spread false and
defamatory information about me regarding my mental state or social life to faculty, staff, students, and
outside entities. The school has also spread other false and defamatory information about me to faculty,
staff, students, and outside entities.1 Although numerous people at the College of Law are involved in this
unlawful scheme, Vermillion has been particularly aggressive from the beginning. She has repeatedly
abused me verbally and demeaned me in various settings. She has been involved in a significant number
of discriminatory activities, and she has orchestrated a significant part of the unlawful scheme. The
discrimination appears to be at least partly (if not completely) based on my race. I had two writing classes
with Moritz and one torts class with Wexler. Both engaged in discriminatory and bizarre behavior in their
classes and took it out on me in their grading of my work.

Following fall semester last year, my grades had been impacted by the discrimination because instructors
received personal information about me (unlawfully) and used it against me. For example, the instructors
knew my final exam number, which violated my right to a blind and fair grading process per the College
of Law Handbook. I sent Vermillion an e-mail stating that I was going to file a capricious complaint
against Moritz. Moritz had been particularly clear about her dislike for me.

Meanwhile, my torts class with Wexler began in spring. Wexler repeatedly acted inappropriately toward
me in class and made blatant references to personal information about me that she had heard/seen through
the unlawful scheme. I also met with you and Vermillion in your office in February 2022. During that
meeting, you and Vermillion falsely attempted to accuse me of being unprofessional. I denied your
allegations and highlighted the College of Law’s discrimination against me. I told you that I would file a
capricious complaint against my instructors if they continued to grade me down in violation of the
Student Code.



1
 This paragraph does not highlight the full extent of the illegal activity by the College of Law or its
officials against me. It is only one small piece of the discrimination and unlawful activity.


                                                      16
                         2:22-cv-02252-SEM-EIL # 1-3               Page 8 of 28




Following that meeting, Vermillion continued her deliberate and unlawful scheme by continuing to spread
false and defamatory information about me to faculty and students. The goal appeared to be to separate
me from the student body by preventing me from building personal and social connections with other
students in violation of my First Amendment rights and the Student Code. Many students at the College
of Law were involved in this unlawful scheme as well. Wexler’s behavior got more and more
inappropriate and bizarre as the semester went on. Everything got so ridiculous that I called another
meeting and invited the Dean of the College of Law, Vikram Amar, to attend. At that meeting, I once
again highlighted the discrimination and made it clear to Amar and Vermillion that I would consider
taking legal action if the discrimination continued. However, Amar and Vermillion appeared undeterred.
The unlawful activity continued until the end of spring semester when, once again, my grades were
negatively impacted by the discrimination. I plan to file capricious complaints against one or more of my
instructors (likely Moritz and Wexler for sure). I sent you an e-mail about a month ago (June 2022),
where I informed you of my intent to file one or more capricious complaints in compliance with the
Student Code.

The discrimination approached absurdity a few weeks ago. On June 20, 2022, I received a letter from
Katherine Snyder, the Associate Dean of Students. Snyder is the Associate Dean of Students for the
University generally—not the law school. In other words, she is not connected to the College of Law in
any way. In the letter, Snyder claimed that her office had received “reports” about me and that she wanted
to “discuss” my concerns and whether she could “assist” me in some way. Snyder also claimed that a
“staff member” would join the conversation and that the meeting was “a necessary and required step in
the process[.]” Snyder did not say anything about the nature of the reports or what “process” she was
talking about. However, further research revealed that Snyder is a member of what the University calls
the “Behavioral Intervention Team.” Snyder sent a second letter where she made unreasonable demands
and threatened to discipline me if I did not comply. I told Snyder that I would not meet with her because
her demands were unlawful and in violation of the Student Code and my rights. I also told her that I
would take legal action if the University attempted to discipline me unlawfully.

Snyder did not reveal who sent the reports, but it appears that someone (or multiple people) inside the
College of Law sent fraudulent, false, and defamatory information about me to Snyder. The information
likely came from Vermillion, Moritz, Wexler, or a combination of all three in retaliation because I am
going to file capricious complaints about the grading.2 Snyder’s correspondence presents only a small
portion of the defamatory and unlawful action the College of Law has taken against me since my arrival
last August.

Article I Part I of the Student Code spells out the rights that students have at the school. § 1-108 provides
the nondiscrimination policy. The school claims that it is committed to the “most fundamental principles
of academic freedom, equality of opportunity, and human dignity[.]” § 1-108(a). The Student Code also
provides that “decisions involving students and employees be based on individual merit and be free from
invidious discrimination in all its forms.” Id. Similarly, Section 205 of the ABA standards for law schools
provides that “[a] law school shall foster and maintain equality of opportunity for students, faculty, and
staff, without discrimination or segregation[.]” The Student Code also provides the rights that students
have to freedom of association, inquiry, and expression. See § 1-106.



2
  Although it is not yet clear who filed the fraudulent reports, it does not matter. Even if someone else
filed the fake reports, Vermillion, Moritz, and Wexler need to be held responsible for their discrimination
against me over the past year. As I said at the beginning, there are numerous people at the College of Law
involved with this unlawful scheme. So it would not be surprising to see that others filed the defamatory
reports (if that happened). The most likely culprits are still Vermillion, Moritz, and Wexler.


                                                      27
                         2:22-cv-02252-SEM-EIL # 1-3               Page 9 of 28




The facts above highlight that the College of Law has deliberately interfered with and tried to harm my
legal education. The school has discriminated against me, attempted to segregate me from the other
students, and attacked my human dignity. I have not had an equal opportunity to legal education at the
College of Law because the school has deliberately and unlawfully interfered with my education and
treated me differently than other students. Vermillion has been clear that her goal is to stop me from
becoming a lawyer. By spreading false, fraudulent, and defamatory information to Snyder, the College of
Law has retaliated against me because I said I would file capricious complaints against certain instructors.
Vermillion, Moritz, and Wexler are racist, and they have discriminated against me based partly (if not
completely) on my race. Moritz and Wexler treated me differently than other students in their classes, and
they graded me down capriciously for reasons having nothing to do with the work product.3 Vermillion
took notes during the meetings I had with her and others during the year, and she may have placed false
information in my student file. I have filed a request under the Family Educational Rights and Privacy Act
(FERPA) to gain access to my student file. The College of Law has deliberately sought to deny me a
normal law school process, and they have tried to prevent me from building connections and moving
forward.

The College of Law has broken the law in numerous ways and involved numerous entities in its unlawful
scheme. In doing so, the College of Law has shredded the University Student Code, its own College of
Law Handbook, and the ABA requirements for law schools. The Dean of the College of Law, Amar,
appears to have no control over the faculty or his staff. Amar appears to be complicit in the activity.
People like Vermillion are running around breaking the law regularly. Vermillion is a terrible human
being, and she should be fired and removed from her post immediately. She is unfit to be in her position,
and her behavior may be criminal. Moritz and Wexler are also terrible human beings, and they should be
reprimanded in some form and should receive some professional discipline for their actions. The
University of Illinois needs to investigate and find out who sent the false and fraudulent reports to Snyder.
When it finds out, it needs to tell me. I want to know who is responsible for those reports.

I am going to send a copy of this letter to the Office for Access & Equity at the University of Illinois. I
may also send this letter to the ABA and allow the ABA to take whatever action it deems necessary
against the College of Law. I may also take legal action against the College of Law and the University of
Illinois. I am presently evaluating my legal options. I fear that the College of Law will continue to behave
much like it did last year and that its lack of respect for my rights will infect future professors in future
classes. If that happens, I will file a lawsuit against the College of Law and its officials.

The University of Illinois should be ashamed of itself.

Sincerely,

Keith Singh



CC: Office for Access & Equity




3
  Moritz and Wexler may have discriminated against me for other reasons in addition to my race and the
fact that they are racist. But my race and the fact that they are racist is certainly one of the reasons.


                                                      38
                             2:22-cv-02252-SEM-EIL # 1-3                 Page 10 of 28


your request
Winship, Verity <vwinship@illinois.edu>
Tue 8/2/2022 4:19 PM
To: Singh, Keith <keeruts2@illinois.edu>
Dear Keith,

We are working to get you access to your student file in response to your request. The Student
Records Office will contact you to arrange a time to inspect it.

Your letters make it clear that you are concerned about meeting with the Student Assistance Center
Dean. We think you need to comply, but we want you to get a chance to review your student file first.
Once you look, I hope you’ll see some of your concerns are ill-founded. Let’s see where we are after
you have the chance to review those records.

Kind regards,
Dean Winship

VERITY WINSHIP
Professor & Associate Dean for Academic Affairs
Bio | CV | Papers

University of Illinois Urbana-Champaign
College of Law
504 East Pennsylvania Avenue
Champaign, IL 61820
(217) 244-8161 | vwinship@illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university employees regarding
university business is a public record and may be subject to public disclosure.




                                                        9
                        2:22-cv-02252-SEM-EIL # 1-3           Page 11 of 28


RE: Second Response to Correspondence
Brown, Justin <justbrow@illinois.edu>
Tue 8/23/2022 8:53 AM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Snyder, Katherine <kzilmer@illinois.edu>
Dear Mr. Singh,

I hope this message finds you well. I am writing to you as the chair of the Behavioral Intervention
Team. We have allowed you time to finish your internship and return to the community, so please
communicate with Associate Dean Snyder immediately about setting up the required meeting she
has written you about twice now. You are welcome to bring someone with you to this meeting; no one
has stated otherwise. Whomever you bring with you cannot speak for you, but they can absolutely be
there to advise you. Dean Snyder is also able to provide information about what has shared with us
during your meeting with her, but it is my understanding that what we have received is largely email
communication that you should already have copies of. You have also mentioned allegations and
claims against you, but to reiterate, the Behavioral Intervention Team is interested in talking with you
about your experiences in the College of Law, email exchanges we have been provided, and other
such topics. Besides your current refusal to abide by a reasonable request by a university official
acting in the performance of her duty, you are not being alleged to have violated university policy by
Associate Dean Snyder or myself, and we are not responsible for enforcing most Student Code
policies with law students anyway. However, I do want to clear up your misconception that the Dean
of Students for the university does not serve or oversee (through a number of existing policies and
processes) law students. The scope of the Office of the Dean of Students is, in fact, all students.
Although there is a position within the College of Law that uses the “Dean of Students” title as well,
that is irrelevant to this conversation and to Associate Dean Snyder’s request.

We will give you until the end of this week to make the necessary arrangements with Associate Dean
Snyder, but our expectation is that this meeting occur very soon. Thank you for your understanding.

Best wishes,
--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director

University of Illinois Urbana-Champaign
Student Affairs
Office for Student Conflict Resolution
300 Student Services Bldg. | M/C 306
Champaign, IL 61820
217.333.3680 | justbrow@illinois.edu
www.conflictresolution.illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university
employees regarding university business is a public record and may be subject to public disclosure.


From: Singh, Keith <keeruts2@illinois.edu>
Sent: Friday, July 8, 2022 4:00 PM
To: Student Assistance Center Dean <helpdean@illinois.edu>
Cc: Winship, Verity <vwinship@illinois.edu>; Vermillion, Virginia <deanv@illinois.edu>
Subject: Second Response to Correspondence
Importance: High

This message is for Katherine Snyder. I have attached my response to your second letter
                                               10
                         2:22-cv-02252-SEM-EIL # 1-3          Page 12 of 28


Re: Second Response to Correspondence
Singh, Keith <keeruts2@illinois.edu>
Tue 8/23/2022 10:17 AM
To: Brown, Justin <justbrow@illinois.edu>
Dear Mr. Brown,

I don't know what you are talking about. I will need Ms. Snyder to provide me with copies of
the e-mails in question. I will also need to know what the meeting is about and what you are
accusing me of doing. At that point, I will look into getting legal counsel. Your request is not
reasonable unless it is your position that the school can force students into a meeting with
the "Behavioral Intervention Team" for a friendly chat. There is obviously something you are
accusing me of here, but you are refusing to tell me. That violates my due process rights.
Also, what provision of the Student Code are you referencing?

Your request remains unreasonable, and thus there is not going to be any meeting.

Sincerely,
Keith Singh

From: Brown, Justin <justbrow@illinois.edu>
Sent: Tuesday, August 23, 2022 8:53 AM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Snyder, Katherine <kzilmer@illinois.edu>
Subject: RE: Second Response to Correspondence

Dear Mr. Singh,

I hope this message finds you well. I am writing to you as the chair of the Behavioral Intervention
Team. We have allowed you time to finish your internship and return to the community, so please
communicate with Associate Dean Snyder immediately about setting up the required meeting she
has written you about twice now. You are welcome to bring someone with you to this meeting; no one
has stated otherwise. Whomever you bring with you cannot speak for you, but they can absolutely be
there to advise you. Dean Snyder is also able to provide information about what has shared with us
during your meeting with her, but it is my understanding that what we have received is largely email
communication that you should already have copies of. You have also mentioned allegations and
claims against you, but to reiterate, the Behavioral Intervention Team is interested in talking with you
about your experiences in the College of Law, email exchanges we have been provided, and other
such topics. Besides your current refusal to abide by a reasonable request by a university official
acting in the performance of her duty, you are not being alleged to have violated university policy by
Associate Dean Snyder or myself, and we are not responsible for enforcing most Student Code
policies with law students anyway. However, I do want to clear up your misconception that the Dean
of Students for the university does not serve or oversee (through a number of existing policies and
processes) law students. The scope of the Office of the Dean of Students is, in fact, all students.
Although there is a position within the College of Law that uses the “Dean of Students” title as well,
that is irrelevant to this conversation and to Associate Dean Snyder’s request.

We will give you until the end of this week to make the necessary arrangements with Associate Dean
Snyder, but our expectation is that this meeting occur very soon. Thank you for your understanding.

Best wishes,
--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director
                                                11
                         2:22-cv-02252-SEM-EIL # 1-3          Page 13 of 28


RE: Second Response to Correspondence
Brown, Justin <justbrow@illinois.edu>
Tue 8/23/2022 10:34 AM
To: Singh, Keith <keeruts2@illinois.edu>
Mr. Singh,

Given the function of the Behavioral Intervention Team (BIT), a required meeting in a timely manner
is a reasonable request, and all students are required to comply with such requests under 1-302.g of
the Student Code. So yes, in fact, the university can require a student to meet with them for a chat,
and in my experience most of these conversations are actually quite friendly (That is certainly how
Associate Dean Snyder and I both approach them.). If the meeting were disciplinary in nature or
otherwise intended to investigate a possible policy violation, then you would be afforded due process,
but this meeting is to understand you and your perspective so that the BIT can fulfill its role. We are
not accusing you of wrongdoing.

--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director

University of Illinois Urbana-Champaign
Student Affairs
Office for Student Conflict Resolution
300 Student Services Bldg. | M/C 306
Champaign, IL 61820
217.333.3680 | justbrow@illinois.edu
www.conflictresolution.illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university
employees regarding university business is a public record and may be subject to public disclosure.

From: Singh, Keith <keeruts2@illinois.edu>
Sent: Tuesday, August 23, 2022 10:17 AM
To: Brown, Justin <justbrow@illinois.edu>
Subject: Re: Second Response to Correspondence

Dear Mr. Brown,

I don't know what you are talking about. I will need Ms. Snyder to provide me with copies of
the e-mails in question. I will also need to know what the meeting is about and what you are
accusing me of doing. At that point, I will look into getting legal counsel. Your request is not
reasonable unless it is your position that the school can force students into a meeting with
the "Behavioral Intervention Team" for a friendly chat. There is obviously something you are
accusing me of here, but you are refusing to tell me. That violates my due process rights.
Also, what provision of the Student Code are you referencing?

Your request remains unreasonable, and thus there is not going to be any meeting.

Sincerely,
Keith Singh

From: Brown, Justin <justbrow@illinois.edu>
Sent: Tuesday, August 23, 2022 8:53 AM
To: Singh, Keith <keeruts2@illinois.edu>
                                               12
                         2:22-cv-02252-SEM-EIL # 1-3          Page 14 of 28


Re: Second Response to Correspondence
Singh, Keith <keeruts2@illinois.edu>
Tue 8/23/2022 11:14 AM
To: Brown, Justin <justbrow@illinois.edu>
What is the function of the Behavioral Intervention Team?

From: Brown, Justin <justbrow@illinois.edu>
Sent: Tuesday, August 23, 2022 10:34 AM
To: Singh, Keith <keeruts2@illinois.edu>
Subject: RE: Second Response to Correspondence

Mr. Singh,

Given the function of the Behavioral Intervention Team (BIT), a required meeting in a timely manner
is a reasonable request, and all students are required to comply with such requests under 1-302.g of
the Student Code. So yes, in fact, the university can require a student to meet with them for a chat,
and in my experience most of these conversations are actually quite friendly (That is certainly how
Associate Dean Snyder and I both approach them.). If the meeting were disciplinary in nature or
otherwise intended to investigate a possible policy violation, then you would be afforded due process,
but this meeting is to understand you and your perspective so that the BIT can fulfill its role. We are
not accusing you of wrongdoing.

--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director

University of Illinois Urbana-Champaign
Student Affairs
Office for Student Conflict Resolution
300 Student Services Bldg. | M/C 306
Champaign, IL 61820
217.333.3680 | justbrow@illinois.edu
www.conflictresolution.illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university
employees regarding university business is a public record and may be subject to public disclosure.

From: Singh, Keith <keeruts2@illinois.edu>
Sent: Tuesday, August 23, 2022 10:17 AM
To: Brown, Justin <justbrow@illinois.edu>
Subject: Re: Second Response to Correspondence

Dear Mr. Brown,

I don't know what you are talking about. I will need Ms. Snyder to provide me with copies of
the e-mails in question. I will also need to know what the meeting is about and what you are
accusing me of doing. At that point, I will look into getting legal counsel. Your request is not
reasonable unless it is your position that the school can force students into a meeting with
the "Behavioral Intervention Team" for a friendly chat. There is obviously something you are
accusing me of here, but you are refusing to tell me. That violates my due process rights.
Also, what provision of the Student Code are you referencing?
                                                 13
                         2:22-cv-02252-SEM-EIL # 1-3          Page 15 of 28


RE: Second Response to Correspondence
Brown, Justin <justbrow@illinois.edu>
Tue 8/23/2022 12:12 PM
To: Singh, Keith <keeruts2@illinois.edu>
In short, to prevent targeted violence within our community through early intervention, proactive
engagement, and a variety of supportive services.

--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director

University of Illinois Urbana-Champaign
Student Affairs
Office for Student Conflict Resolution
300 Student Services Bldg. | M/C 306
Champaign, IL 61820
217.333.3680 | justbrow@illinois.edu
www.conflictresolution.illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university
employees regarding university business is a public record and may be subject to public disclosure.

From: Singh, Keith <keeruts2@illinois.edu>
Sent: Tuesday, August 23, 2022 11:14 AM
To: Brown, Justin <justbrow@illinois.edu>
Subject: Re: Second Response to Correspondence

What is the function of the Behavioral Intervention Team?

From: Brown, Justin <justbrow@illinois.edu>
Sent: Tuesday, August 23, 2022 10:34 AM
To: Singh, Keith <keeruts2@illinois.edu>
Subject: RE: Second Response to Correspondence

Mr. Singh,

Given the function of the Behavioral Intervention Team (BIT), a required meeting in a timely manner
is a reasonable request, and all students are required to comply with such requests under 1-302.g of
the Student Code. So yes, in fact, the university can require a student to meet with them for a chat,
and in my experience most of these conversations are actually quite friendly (That is certainly how
Associate Dean Snyder and I both approach them.). If the meeting were disciplinary in nature or
otherwise intended to investigate a possible policy violation, then you would be afforded due process,
but this meeting is to understand you and your perspective so that the BIT can fulfill its role. We are
not accusing you of wrongdoing.

--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director

University of Illinois Urbana-Champaign
Student Affairs
Office for Student Conflict Resolution
300 Student Services Bldg. | M/C 306
Champaign, IL 61820
                                            14
                         2:22-cv-02252-SEM-EIL # 1-3          Page 16 of 28


Re: Second Response to Correspondence
Singh, Keith <keeruts2@illinois.edu>
Tue 8/23/2022 12:37 PM
To: Brown, Justin <justbrow@illinois.edu>
Cc: Winship, Verity <vwinship@illinois.edu>
Dear Mr. Brown,

Thank you very much for that definition. I hope you understand what you just admitted. The
Bevhavioral Intervention Team exists to do what you just said. That is your duty.

§ 1-302(g) of the Student Code provides that a student may be disciplined for "failing to
comply with reasonable directions of a member or agent of the university acting in the
performance of their duty" (emphasis added). You are trying to force me into a meeting to
"prevent targeted violence"—thereby suggesting that I have done something to justify such a
meeting.

I vigorously deny those allegations. I have not done anything, and I don't know what you are
talking about. You have no factual basis, and the College of Law is retaliating against me by
reaching out to your department. I refer you back to the letters. You have not provided me
with any evidence, and I still do not have the e-mails you referenced previously.

Consequently, your request is not reasonable, and the school would be violating the Student
Code if it attempted to discipline me for not talking to you—thereby violating my due process
rights.

I don't know how to make it any clearer. I feel like I have repeated this now several times.

Sincerely,
Keith Singh

From: Brown, Justin <justbrow@illinois.edu>
Sent: Tuesday, August 23, 2022 12:12 PM
To: Singh, Keith <keeruts2@illinois.edu>
Subject: RE: Second Response to Correspondence

In short, to prevent targeted violence within our community through early intervention, proactive
engagement, and a variety of supportive services.

--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director

University of Illinois Urbana-Champaign
Student Affairs
Office for Student Conflict Resolution
300 Student Services Bldg. | M/C 306
Champaign, IL 61820
217.333.3680 | justbrow@illinois.edu
www.conflictresolution.illinois.edu

                                                15
                         2:22-cv-02252-SEM-EIL # 1-3          Page 17 of 28


Re: Second Response to Correspondence
Singh, Keith <keeruts2@illinois.edu>
Tue 8/23/2022 12:41 PM
To: Brown, Justin <justbrow@illinois.edu>
Cc: Winship, Verity <vwinship@illinois.edu>
Apologies for any typos in the previous message.

From: Singh, Keith <keeruts2@illinois.edu>
Sent: Tuesday, August 23, 2022 12:37 PM
To: Brown, Justin <justbrow@illinois.edu>
Cc: Winship, Verity <vwinship@illinois.edu>
Subject: Re: Second Response to Correspondence

Dear Mr. Brown,

Thank you very much for that definition. I hope you understand what you just admitted. The
Bevhavioral Intervention Team exists to do what you just said. That is your duty.

§ 1-302(g) of the Student Code provides that a student may be disciplined for "failing to
comply with reasonable directions of a member or agent of the university acting in the
performance of their duty" (emphasis added). You are trying to force me into a meeting to
"prevent targeted violence"—thereby suggesting that I have done something to justify such a
meeting.

I vigorously deny those allegations. I have not done anything, and I don't know what you are
talking about. You have no factual basis, and the College of Law is retaliating against me by
reaching out to your department. I refer you back to the letters. You have not provided me
with any evidence, and I still do not have the e-mails you referenced previously.

Consequently, your request is not reasonable, and the school would be violating the Student
Code if it attempted to discipline me for not talking to you—thereby violating my due process
rights.

I don't know how to make it any clearer. I feel like I have repeated this now several times.

Sincerely,
Keith Singh

From: Brown, Justin <justbrow@illinois.edu>
Sent: Tuesday, August 23, 2022 12:12 PM
To: Singh, Keith <keeruts2@illinois.edu>
Subject: RE: Second Response to Correspondence

In short, to prevent targeted violence within our community through early intervention, proactive
engagement, and a variety of supportive services.

--
JUSTIN BROWN (HE, HIM, HIS)
Associate Dean of Students and Director
                                               16
                        2:22-cv-02252-SEM-EIL # 1-3         Page 18 of 28


Due Process Problems
Singh, Keith <keeruts2@illinois.edu>
Tue 8/23/2022 5:23 PM
To: Winship, Verity <vwinship@illinois.edu>
Cc: Amar, Vikram D <amar@illinois.edu>;Vermillion, Virginia <deanv@illinois.edu>
Dear Dean Winship,

I wanted to follow up on my previous correspondence with Mr. Brown from the Behavioral
Intervention Team (BIT). This is mentioned in the capricious complaints that I will file later,
but I want to point out now the numerous legal problems that this school is potentially facing.

The University of Illinois College of Law offered me admission in 2021. I accepted the offer
later in the same year. I received the Dean's Scholarship. In return for giving me a (mostly)
free legal education, the College of Law received my stats—thereby satisfying consideration.
Therefore, a contract was formed between the College of Law and me. The terms of this
contract are in the Student Code and College of Law Handbook.

You have told me that I must speak with BIT. I disagree. The Student Code does not require
me to do so. § 1-302(g) of the Student Code provides that a student may be disciplined for
"failing to comply with reasonable directions of a member or agent of the university acting in
the performance of their duty" (emphasis added). For the reasons mentioned previously,
the request is not reasonable. You still have not provided evidence to show the factual basis
for the meeting.

If the College of Law attempts to discipline me for this, the school will be violating the
Student Code (again)—thereby breaching the contract (again). In doing so, the school will
have deprived me of my property without due process of law. See, e.g., Doe v. Purdue Univ.,
928 F.3d 652, 659–60 (7th Cir. 2019) (considering whether there is a contractual right when
evaluating whether a student has a property interest in due process claims against
universities). It is important to note that this is separate from the due process that the school
must provide in whatever hearing I receive. This is also separate from the due process I
must receive in the hearings about the capricious complaints that I will be filing soon. Most
civil due process claims come from universities depriving students of due process. This also
does not include the other claims that I could bring against the school for its unlawful
conduct.

Either provide me with the evidence that shows the factual basis for the attempted forced
meeting or drop the matter. I don't want to hear from BIT anymore. In the alternative, you can
move forward with your fraudulent disciplinary proceedings so I can hire a lawyer. Otherwise,
I don't want to hear about it anymore.

I will certainly sue to protect my rights if the school attempts to enforce any kind of discipline
over this phony matter. Also, even if you provide the evidence, I will have to evaluate it to
determine whether it satisfies the reasonableness requirement in the language of the
Student Code. (Spoiler alert: It won't because I have not done anything wrong.) You guys are
not the King. You can't just do whatever you want and claim it is reasonable.

                                                17
                             2:22-cv-02252-SEM-EIL # 1-3                 Page 19 of 28


Next steps
Winship, Verity <vwinship@illinois.edu>
Thu 9/8/2022 9:27 AM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Amar, Vikram D <amar@illinois.edu>
Dear Keith,

We hope that your opportunity to review your student file was helpful to you. We also hope, now that
you have undertaken that review, that you have reconsidered your refusal to meet with the Behavioral
Intervention Team (BIT). Although to date you have chosen not to meet with the Team, we believe
such a meeting is indicated and required. As you know, this obligation is spelled out in more detail in
the student code, as are the potential consequences for your failing to meet with them.

We are firmly of the view that your complying with your duty to meet with BIF to identify and hopefully
address various conflicts in which you have been embroiled is necessary to promote the health of the
College and the university community. You have contended that “[t]here have been no conflicts
between [you] and faculty” but in the very same email in which you made that contention you identify
three people - professors and senior administrators - with whom you have had sharp and ongoing
conflicts and as to whom you seem to harbor a great deal of animosity. In that email you also point
out that prior correspondence with the College provides even more detail about these conflicts, a fact
that serves to underscore their seriousness and persistence. By seeking a meeting with you, BIF is
attempting, among other things, to help manage these conflicts and any others they may find
relevant.

Unfortunately the friction in which you have been involved has continued even after we met with you,
twice, to convey the law school’s expectations, to lay out the formal, and appropriate, routes available
to you for challenging grades or faculty behavior, and to reassure you that law school had no desire
to persecute you in any way. Given where things are at, your meeting with BIF is a helpful and
required step, and it is in your best interests to take such a meeting as the student code requires.

Sincerely,
Dean Winship

VERITY WINSHIP
Professor & Associate Dean for Academic Affairs
Bio | CV | Papers

University of Illinois Urbana-Champaign
College of Law
504 East Pennsylvania Avenue
Champaign, IL 61820
(217) 244-8161 | vwinship@illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university employees regarding
university business is a public record and may be subject to public disclosure.




                                                         18
                        2:22-cv-02252-SEM-EIL # 1-3           Page 20 of 28


Re: Next steps
Singh, Keith <keeruts2@illinois.edu>
Thu 9/8/2022 10:41 AM
To: Winship, Verity <vwinship@illinois.edu>
Cc: Amar, Vikram D <amar@illinois.edu>
Dean Winship,

My position has not changed. It sounds like this may be an issue for a court of law to
address. If the College of Law insists on violating the Student Code and breaching its
contract with me, that is the College of Law's problem. In any case, you are not going to bully
me unlawfully.

I will be filing my capricious complaints here soon. In these complaints, I will address the
false and fraudulent reports that the College of Law submitted to BIT. Let's see if your
position changes after you read those complaints.

Keith Singh

From: Winship, Verity <vwinship@illinois.edu>
Sent: Thursday, September 8, 2022 9:27 AM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Amar, Vikram D <amar@illinois.edu>
Subject: Next steps

Dear Keith,

We hope that your opportunity to review your student file was helpful to you. We also hope, now that
you have undertaken that review, that you have reconsidered your refusal to meet with the Behavioral
Intervention Team (BIT). Although to date you have chosen not to meet with the Team, we believe
such a meeting is indicated and required. As you know, this obligation is spelled out in more detail in
the student code, as are the potential consequences for your failing to meet with them.

We are firmly of the view that your complying with your duty to meet with BIF to identify and hopefully
address various conflicts in which you have been embroiled is necessary to promote the health of the
College and the university community. You have contended that “[t]here have been no conflicts
between [you] and faculty” but in the very same email in which you made that contention you identify
three people - professors and senior administrators - with whom you have had sharp and ongoing
conflicts and as to whom you seem to harbor a great deal of animosity. In that email you also point
out that prior correspondence with the College provides even more detail about these conflicts, a fact
that serves to underscore their seriousness and persistence. By seeking a meeting with you, BIF is
attempting, among other things, to help manage these conflicts and any others they may find
relevant.

Unfortunately the friction in which you have been involved has continued even after we met with you,
twice, to convey the law school’s expectations, to lay out the formal, and appropriate, routes available
to you for challenging grades or faculty behavior, and to reassure you that law school had no desire
to persecute you in any way. Given where things are at, your meeting with BIF is a helpful and
required step, and it is in your best interests to take such a meeting as the student code requires.

Sincerely,
Dean Winship

VERITY WINSHIP
                                               19
                         2:22-cv-02252-SEM-EIL # 1-3        Page 21 of 28


Retaliation Complaint
Singh, Keith <keeruts2@illinois.edu>
Thu 9/8/2022 11:12 AM
To: Rietz, Patrick G <rietz@illinois.edu>
Cc: Winship, Verity <vwinship@illinois.edu>;Amar, Vikram D <amar@illinois.edu>
Dear Mr. Rietz,

My name is Keith Singh, and I am a student at the College of Law. I was referred to you by
the Office for Diversity and Equity, where I filed a discrimination complaint against the
College of Law for its unlawful activity. I was told to reach out to you for retaliation issues, as
you are the HR contact.

I would like to file an official complaint against Shannon Moritz, Lesley Wexler, Verity
Winship, Virginia Vermillion, and Vikram Amar for retaliating against me. I would also like to
file a retaliation complaint against the College of Law generally. I told the College of Law that
I would file capricious complaints against various instructors. I have a right to do so under §
3-107 of the Student Code. The College of Law responded by filing false and fraudulent
reports about me to outside entities. That is plainly retaliation. The College of Law may be
considering discipline against me, so this retaliation complaint is serious, and it may be a
legal matter as well.

Please let me know if you need anything else from me.

Sincerely,
Keith Singh




                                                 20
                             2:22-cv-02252-SEM-EIL # 1-3                 Page 22 of 28


proposed meeting
Winship, Verity <vwinship@illinois.edu>
Mon 9/19/2022 1:05 PM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Amar, Vikram D <amar@illinois.edu>
Dear Keith,

As we have explained to you before, refusal to meet with the Behavioral Intervention Team (BIT) is
serious. And as you know, the student code spells out the obligation and potential consequences,
including possible disciplinary action, for failing to discharge that obligation. That said, the Dean and I
are more than willing to sit down and talk with you before we take any next steps, to listen to what
you have to say, to reiterate why we think meeting with BIF is helpful and necessary for you, and to
once again demonstrate to you that the law school has no desire to persecute you in any way.

Dean Amar and I are available to meet with you on Wednesday, September 28th. Please let us know
if you are amenable to meeting and, if so, when you are available on that day.

Sincerely,

Dean Winship

VERITY WINSHIP
Professor & Associate Dean for Academic Affairs
Bio | CV | Papers

University of Illinois Urbana-Champaign
College of Law
504 East Pennsylvania Avenue
Champaign, IL 61820
(217) 244-8161 | vwinship@illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university employees regarding
university business is a public record and may be subject to public disclosure.




                                                        21
                             2:22-cv-02252-SEM-EIL # 1-3                 Page 23 of 28


Next steps - due by end of day Oct 25
Winship, Verity <vwinship@illinois.edu>
Tue 10/18/2022 2:57 PM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Snyder, Katherine <kzilmer@illinois.edu>;Wilczynski, Robert <rwilczyn@illinois.edu>
Dear Keith,

We wish you well and want you to thrive at the law school, so want to give you this last opportunity to
simply meet with the Behavioral Intervention Team (BIT), as requested and required. The University
deems failure to attend a meeting with the BIT to be action subject to discipline under campus
guidelines. If you do not make arrangements to meet with the BIT in the next week (i.e., before the
end of day October 25), we will need to start the disciplinary process.

You were referred to the BIT in light of longstanding and ongoing conflicts you have had with several
members of the law school community, many of which you have documented extensively in your
letters and emails. Some of your email exchanges also suggest that these conflicts have started to
characterize your interactions with students as well. As Dean Brown has pointed out to you, the BIT
is interested in talking with you about your experiences in the College of Law, email exchanges
provided to it, and other such topics. By attending the BIT meeting, you can discuss your concerns
and Dean Snyder would be able to give you more information, though what the BIT received is
largely email communication that you should already have copies of. As Dean Brown indicated
earlier, in his experience most of the conversations with the BIT are actually quite friendly.

Though failing to comply with the reasonable request for a meeting is disciplinable (as noted above),
the BIT meeting itself is not disciplinary in nature or otherwise intended to investigate a possible
policy violation. The BIT team described this meeting to you as designed to understand you and your
perspective so that the BIT can fulfill its role. They also reiterated and emphasized that they are not
accusing you of wrongdoing. I urge you to take this route and meet with the BIT.

I have copied Dean Snyder and Dean Wilczynski, who directs the Office for Student Conflict
Resolution, the role previously held by Dean Brown.

Sincerely,
Dean Winship

VERITY WINSHIP
Professor & Associate Dean for Academic Affairs
Bio | CV | Papers

University of Illinois Urbana-Champaign
College of Law
504 East Pennsylvania Avenue
Champaign, IL 61820
(217) 244-8161 | vwinship@illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university employees regarding
university business is a public record and may be subject to public disclosure.




                                                           22
                         2:22-cv-02252-SEM-EIL # 1-3        Page 24 of 28


Fraudulent Claims
Singh, Keith <keeruts2@illinois.edu>
Tue 10/18/2022 6:23 PM
To: Snyder, Katherine <kzilmer@illinois.edu>;Wilczynski, Robert <rwilczyn@illinois.edu>
Cc: Student Assistance Center Dean <helpdean@illinois.edu>;Office for Access and Equity
<accessandequity@illinois.edu>;Winship, Verity <vwinship@illinois.edu>
This message is for the Office of the Dean of Students, specifically Katherine Snyder and
Robert Wilczynski.

My name is Keith Singh, and I am a student at the College of Law. The College of Law has
reached out to the Office of the Dean of Students and the Behavioral Intervention Team (BIT)
and provided false information about me. I have already been in contact with Katherine
Snyder. I seek evidence.

The College of Law demanded that I speak with BIT for no reason. Upon receiving the
demand, I denied the allegations and asked the College of Law for information and evidence
to figure out what was going on. The College of Law did not provide me with any evidence. It
is unclear what the issue is or why the College of Law reached out to BIT. I should not have
to guess; I do not have any copies of any e-mails. This is not only an unreasonable demand,
but it is so unreasonable and unlawful that it is hard to take seriously. BIT apparently made
no efforts to verify the information it received from the law school.

Thus, I informed the College of Law that I would not speak to BIT because it would violate
my First Amendment rights and my rights under the Student Code. The College of Law is
now threatening to discipline me for no reason. I informed the College of Law that I would file
a lawsuit in response to any discipline. I have already filed numerous complaints against the
College of Law regarding its improper conduct.

Although BIT is not going to be involved with the discipline, the communication between the
College of Law and BIT is the crux of this issue. Katherine Snyder, Justin Brown, Robert
Wilczynski, and any other people involved with this issue should be prepared to testify in the
legal dispute. So, I hereby ask BIT to forward to me any information it has relating to this
matter. I want any reports, e-mails, or information forwarded to my e-mail. This matter is
going to be in court if there is discipline, so this is pretty serious. I expect a prompt response.
A failure to provide this information will further show the ridiculous nature of the matter. This
school is a circus, so it is hard to take it seriously. I do not know how the school could
possibly claim that it made a reasonable request when it behaved in this manner. I have
considered this a legal matter from the beginning. The school has no argument under the
law or the Student Code at the present time.

I have also filed capricious complaints under the Student Code against instructors at the
College of Law. I will be seeking testimony from BIT for the purposes of those complaints,
and I will be in touch soon.

I am copying the Office for Access & Equity into this message because the College of Law
has violated my rights. This is retaliation.

                                               23
                         2:22-cv-02252-SEM-EIL # 1-3                Page 25 of 28


RE: Fraudulent Claims
Snyder, Katherine <kzilmer@illinois.edu>
Wed 10/19/2022 4:01 PM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Wilczynski, Robert <rwilczyn@illinois.edu>
Hi Keith,

Thank you for your message.

I am interpreting your email as a formal request to inspect and review your educational records. In
this case, please know that we provide access, not copies, and we have 45 days to do so. We will
work to prepare your records for your review. We will alert you as to when we are ready so that you
can make an appointment to come to our office in-person and review them.

Thank you,
Katherine

                         Katherine C. Snyder, M.A., CTM
                         Associate Dean of Students

                         Office of the Dean of Students
                         University of Illinois
                         300 Turner Student Services Building, MC-306
                         610 East John Street
                         Champaign, IL 61820
                         Phone: 217.333.0050 | kzilmer@illinois.edu
                         Fax: 217.265.5000
                         Website: https://www.odos.illinois.edu/community-of-
                         care/student-assistance-center/




From: Singh, Keith <keeruts2@illinois.edu>
Sent: Tuesday, October 18, 2022 6:24 PM
To: Snyder, Katherine <kzilmer@illinois.edu>; Wilczynski, Robert <rwilczyn@illinois.edu>
Cc: Student Assistance Center Dean <helpdean@illinois.edu>; Office for Access and Equity
<accessandequity@illinois.edu>; Winship, Verity <vwinship@illinois.edu>
Subject: Fraudulent Claims

This message is for the Office of the Dean of Students, specifically Katherine Snyder and
Robert Wilczynski.

My name is Keith Singh, and I am a student at the College of Law. The College of Law has
reached out to the Office of the Dean of Students and the Behavioral Intervention Team (BIT)
and provided false information about me. I have already been in contact with Katherine
Snyder. I seek evidence.

The College of Law demanded that I speak with BIT for no reason. Upon receiving the
demand, I denied the allegations and asked the College of Law for information and evidence
to figure out what was going on. The College of Law did not provide me with any evidence. It
is unclear what the issue is or why the College of Law reached out to BIT. I should not have
to guess; I do not have any copies of any e-mails. This is not only an unreasonable demand,
but it is so unreasonable and unlawful that it is hard to take seriously. BIT apparently made
no efforts to verify the information it received from the law school.

Thus, I informed the College of Law that I would not speak to BIT because it would violate
                                                    24
                                     2:22-cv-02252-SEM-EIL # 1-3               Page 26 of 28                            10/26/22, 1:35 PM




 From: illinois-advocate@advocate.symplicity.com <illinois-advocate@advocate.symplicity.com>
 Sent: Tuesday, October 25, 2022 1:04 PM
 To: Singh, Keith <keeruts2@illinois.edu>
 Subject: UIUC Disciplinary Update: IMPORTANT




 October 25, 2022         UPDATED NOTICE
 Sent Via Email: keeruts2@illinois.edu
 Keith Singh
 UIN: 657706176
 Case No. 02821-2022

 RE:    UPDATE ON RECORDS REQUEST

 Dear Keith:
 The records you requested are available for review. Please call my office, 217-333-3680, during normal business hours
 (8:30 a.m. - 5 p.m.) and no later than November 4, 2022, to schedule an appointment to come in and review the records
 on site. The appointment will be to let our support staff know what time to expect you and to make sure there is a space
 available for you to review the report. You will not be allowed to take the report off premises, nor duplicate the report in any
 fashion. Phones are not permitted in the review room. You may bring a laptop with you to take notes or to write your
 response. Paper is also available on request.
 Additionally, you were directed by Dean Winship at the College of Law to phone my office by 5:00pm today, to set up a
 meeting with me and another member of the Behavioral Intervention Team. Guidance provided to the College by the
 Senate Committee on Student Discipline are as follows:
       Failure to comply with BIT-issued or other safety-focused requirements – Dismissal Comment: The university’s
       Behavioral Intervention Team (BIT) is responsible for assessing and managing potential safety risks posed by
       students. In order to fulfill its mission, BIT must occasionally place immediate requirements on students, from
       mandatory meetings to behavioral restrictions. A student’s failure to comply with these requirements either prevents
       BIT from properly assessing a possible threat or directly puts the campus community at risk.
 You can find the document in its entirety here:
 http://www.conflictresolution.illinois.edu/resources/forms-and-guides/docs/sanctioning-guidance.pdf

 I hope that you comply with this directive so that escalations are not needed in this matter.
 Sincerely,

 Robert Wilczynski
 Interim Director, Office for Student Conflict Resolution




https://mail.proton.me/u/0/inbox/9bBLEdmtSOOO68Y6fNnrzfYZBhdLZzW3-cdC-bZKe572Q8AnbYwjLWuCqQsvRSErWxYPtneAlIpWOMw7gpAkGA==     Page 2 of 2

                                                                25
                         2:22-cv-02252-SEM-EIL # 1-3        Page 27 of 28


Re: Next steps - Meeting
Singh, Keith <keeruts2@illinois.edu>
Fri 10/28/2022 3:11 PM
To: Winship, Verity <vwinship@illinois.edu>;Amar, Vikram D <amar@illinois.edu>
Dean Winship,

Thank you for your message. I will forward the date and time along to my attorney to make
sure he is available.

I have reviewed the records at the Office of the Dean of Students. I will be filing an official
request under the Family Educational Rights and Privacy Act (FERPA) to delete and remove
the entire file. The College of Law has provided a fictional story that lacks any factual basis.
There is no evidence in the record to support any of the allegations.

The word "defamation" says it all. The records not only support my position but further
illustrate how the Behavioral Intervention Team (BIT) took no steps to verify the information
that it received. There are also numerous false claims that are contradicted by factual
evidence. I should remind you that the individual who filed the report is the subject of a
discrimination complaint that is currently pending before the Office of Access & Equity
(OAE).

But the records themselves are separate from the First Amendment concern. Under the law,
the school must meet a particular threshold to restrict a student's free speech rights. The
school has not met that burden.

I look forward to discussing this with you and Dean Amar next week (pending confirmation
by my attorney).

Sincerely,
Keith Singh



From: Winship, Verity <vwinship@illinois.edu>
Sent: Friday, October 28, 2022 12:26 PM
To: Singh, Keith <keeruts2@illinois.edu>
Cc: Amar, Vikram D <amar@illinois.edu>
Subject: RE: Next steps - Meeting

Dear Keith,

We can meet Wednesday Nov. 2 at 2pm CST. It will be via Zoom, given your counsel’s constraints.
The person attending from the University Counsel’s office is Brett Schnepper
(bschnep2@uillinois.edu).

We understand that you have requested access to your records at the central campus Dean of
Student’s office. If you have not yet viewed these, we advise you to do so before our meeting.

Sincerely,
Dean Winship

                                                 26
                             2:22-cv-02252-SEM-EIL # 1-3                 Page 28 of 28


Time-sensitive - Next Steps
Winship, Verity <vwinship@illinois.edu>
Mon 11/14/2022 9:38 AM
To: Singh, Keith <keeruts2@illinois.edu>
Dear Keith,

We appreciated the opportunity to meet with you and your attorney. Your attorney is welcome to
review the records you requested from the Office for Student Conflict Resolution accompanied by
you. Campus has made it clear that review must be in person; they do not distribute these records or
provide remote review. So that your attorney can review the file, you will need to fill out and provide a
FERPA release, which is available at http://www.conflictresolution.illinois.edu/resources/forms-and-
guides/docs/release-authorization.pdf. Other than that, the process is the same as when you
reviewed the documents. Please contact the Office for Student Conflict Resolution at 217-333-3680
to set up a time to review your records, and to raise any questions you have about their procedures.

As you know, we previously imposed deadlines on making arrangements to meet with the BIT but
stopped the clock to give you and your counsel the chance to meet with us. That meeting has taken
place and you have had the chance to discuss the matter with your counsel. Accordingly, we must
now move forward. We have given you multiple opportunities to meet with BIT as campus and law
school regulations require. At this point, we will have to start the disciplinary process if you have not
met with BIT by the end of the week (Nov. 18).

Sincerely,

Dean Winship

VERITY WINSHIP
Professor & Associate Dean for Academic Affairs
Bio | CV | Papers

University of Illinois Urbana-Champaign
College of Law
504 East Pennsylvania Avenue
Champaign, IL 61820
(217) 244-8161 | vwinship@illinois.edu




Under the Illinois Freedom of Information Act any written communication to or from university employees regarding
university business is a public record and may be subject to public disclosure.




                                                            27
